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E| FPD g Appointed |¥CJA |Il Pro Per II| Retained

 

 

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

 

 

 

CASE NUMBER:
PLAINT]FF(S)’ CR-l6-00538 JSW
v.
DELAY GRAHAM
NOTICE OF APPEAL
DEFENDANT(S).
NOTICE IS HEREBY GIVEN that DELAY GRAHAM hereby appeals to
Name of Appellanz

the United States Court of Appeals for the Ninth Circuit from:

Criminal Matter Civil Matter

|:| Conviction only [F.R.Cr.P. 32(j)(1)(A)] l:| Order (specify):
|:| Conviction and Sentence
Sentence 0nly (18 U.S.C. 3742)
l:l Pursuant to F.R.Cr.P. 32(j)(2) |:| Judgrnent (specify):
E Interlocutory Appeals
Sentence irnposed:
BUR.EAU OF PRISONS FOR 80 l:| Other (Specify):
MONTHS
R| Bail status:
IN CUSTODY

lmposed or Filed on MAY 15, 2018 . Entered on th ocket in this action on May 22, 2018 .

     

A copy of said judgment or order is attached hereto.

May 28, 2018 /

Date Sign§/ture
|:l Appellant/ProSe E Counsel for Appellant E| Deputy Clerk

 

Note: The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufhcient number
of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).

 

A-.'Z (01/07) NOTICE OF APPEAL

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UNITED STATES DISTRICT COURT
Northern District of California

UNITED STATES OF AI\PIERICA ) JUDGMENT IN .A CRIMINAL CASE
v. )
Delay G[a_ham ) USDC Case Number: CR-16-00538-001 JSW
) BOP Ca.se Number: DCAN416CR00538-001
) USM Number: 24050»111
) Defendant’s Attomey: Robert Waggener (Appointed)

THE DEFENDANT:

]7. pleaded guilty to count: Qne of the Indietm§m

l' pleaded nolo contendere to oount(s): which was accepted by the oourr.
|"". was found guilty on oount(s): aider a plea of not guilty.

The defendant is adjudicated gpil_ty of these offenses:

Title & Section Nature of Ofl‘ense Offense Ended Count
18 U.S.C. § 922(g)(l) Felon in Possession of o Firem'm and Ammunition 1216/2016 l

 

 

 

 

 

 

 

 

 

 

The defendant is sentenced as provided in pages 2 through ___7_of this judgment The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

|" 'Ihe defendant has been found not guilty on oount(s):
P'_ Count I_w_g is dismlsed on the motion oftlre United States.

lt is ordered that the defendant must notify the United States ammey for this district within 30 days of any change of name,
residence or mailing address until all iinel, restitution, eosts, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United Smtes attorney of material changes in economic circumstances

5115/2018

position of.lnrl%l

S. White
Svm Disu'ict Judge
Name & 'l`itle of lodge

  

Msy 22, 2018
Date

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DEFENDANT: Delay Graham Judgment - Page 2 of?

CASE NUMBER: CR-16-00538-001 JSW

 

mPRrsoNMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned ibt a total term of:

80 months.

The appearance bond is hereby exonerated or upon surrender of the defenth as noted below. Any cash bail plus interest shall be
returned to the owner(s) listed on the Afl'ldavit owaner ofCash Security form on file in the Clerk's Ofl`ice.

r:r

11

The Court makes the following recommendations to the Bureau of I-"risons:

The Court recommends that the defendant participate in the Bureeu of Prisons Residential Drug Abuse Treatment Program, as
well as vocational training and cognitive behavioral treatmentl lt is recommended that the defendant be housed as close to Las
Vegas, Nevada as possible to facilitate family visitation.

The defenth is remanded to the custody of the United States Marshel.

The defendant shall surrender to the United Stetes Marshal for this district
I' at on (no later than 2:00 pm).

I_ as notified by tire United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureeu ofPrisons:
|_ at on (no later than 2:00 pm}.

F as notified by the United Sttwes Malshal.

I- as notified by the Probation or Pretrial Services Ofliee.

RETURN

l have executed thisjudgment as follows:

Defendent delivered on to et
, with a certified copy of this judgment

 

 

UNITED STATES MARSHAL

By

 

DEPUTY uNTE"D sums MARSHAL

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CASE N'UMBER: CR-16-00538-001 JSW

 

SUPERVISED RELEASE

Upon release from imprisomnent, the defendant shall be on supervised release for a tenn of: 3 years.

l)
2)
3)

4)

5)
6)

7)

MANDATORY CONDITIONS OF SUPERVISION

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance

You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereatter, as determined by the court

I_
[._;'.
r1

F

|_' The above drug testing condition is suspended, based on the courts determination that you pose a low risk of future

substance abuse. (check r'fqpph`cable)
You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing asentence of

restitution (check ifapplicable)

Yon must cooperate in the collection ofDNA as directed by the probation oi’licer. (check rJ"qoph'cabic)

You must comply with the requirements of the Sex Ol’fender Registration and Notification Act (34 U.S.C. § 2090[, et seq.)
as directed by the probation oHicer, the Bureau of Fn`sons, or any state sex offender registration agency in which you
reside, work, are a student, or were convicted of a qualifying offense (check §fapplr`cab¢'e)

You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.

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DEFENDAN'I`: Delay Graham Judgment - Page 4 of 7

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STANDARD CONDI'I`IONS OF SUPERVISION

As part of your supervised releese, you must comply with the following standard conditions ofsupervision. 'Ihese conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep infonned, report to the court, and bring about improvements in yo\u' conduct and condition

l) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
RELEASE, unless the probation officer instrucm you to report to a different probation office or within a different time frame.

2) Aiter initially reporting to the probation office, you will receive instructions fi'om the court or the probation officer about how
and when you must report to tire probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
from the com or the probation otiicer.

4) You must follow the instructions of the probation officer related to the conditions of supervision

5) You must answer truthfully the questions asked by your probation officer.

6) You must live at a place approved by the probation ofiicer. !f you plan to change where you live or anything about your
living arrangements (such as the people you live with, for example}, you must notify the probation officer at least 10 days
before the change. If notifying tire probation officer in advance is not possible due to unanticipated circumstances, you must
notify the probation officer within 72 hours of becoming aware of a change or expected change.

7 ) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
officer to take any items prohibited by these and the special conditions of your supervision that he or she observes in plain
Vl¢W.

8) You must work at least part-time (defined as 20 hours per week) at a lawful type of employment unless excused from doing
so by the probation officer for schooling, training, community service or other acceptable activities It` you plan to change
where you work or anything about your work (such as yorn' position or yourjob responsibilities), you must notify the
probation officer at least 10 days before the ehange. if notifying the probation officer at least 10 days in advance is not
possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
change or expecmd change.

9) You must not communicate or interact with someone you know is engaged in criminal activity. You must not associatc,
communicate, or interact with any person you know has been convicted of a felony, unless granted permission to do so by the
probation officer.

10) If you are arrested or questioned by a law enforcement offloer, you must notify the probation officer within 72 hours.

l 1) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the courtl

12) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
nunchakus or tasers).

f" Ifthe probation officer determines that you pose a risk to a third party, the probation officer may require you to notify the
person about the risk and you must comply with that instruction The probation officer may contact the person and confirm
that you have notified the person about the risk. (r:heck ffapplr`coble)

U.S. Probation Office Use Only

A U.S. probation officer ha instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgmmt containing these conditions. 1 understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions cf supervision upon a finding cfa violation of probation or supervised release.

(Signed)

 

 

Defendant Date

 

 

U.S. Probation OflicerfDesignated Witness Date

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DEFENDANT: Delay Graham Judgment - Page 5 of?

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SPECIAL CONDITIONS OF SUPERVISION

l, You shall pay any special assessment that is imposed by this judgment and that remains unpaid at the commencement of the
term cf supervised release.

2. You must not participate in gang aetivity, must not associate with any member of the Ghost Town gang, and must not wear
the clothing colors, or insignia of the Gbost Town gang.

3. You must cooperate in the collection of DNA as directed by the probation officer.

4. You shall submit your person, residence, office, vehicle, electronic devices and their data (including cell phones, computers,

and electronic storage media), and any property under your control to a search. Such a search shall be conducted by a United
States Probation Off'rcer or any federal, smte, or local law enforcement officer at any timel with or without suspicion Failure
to submit to such a search may be grounds for revocation; you shall warn any residents that the premises may be subject to
scarches.

5. You must participate in a program of testing and treatment ibr drug abuse, as directed by the probation ofl:icer, until such
time as you are released from treatment by the probation oti'rcer. You are to pay part or all ot' the cost of this treatrnent, at an
amount not to exceed the cost of treatment, as deemed appropriate by the probation ofticer. Payments shall never exceed tire
total cost of urinalysis and counseling The actual co-payment schedule shall be determined by the probation officer.

6. You must abstain ii'orn the use of all alcoholic beverages

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DEFENDANT: Dela},l Graham Judgment - Page 6 of 7
CASE NUMBER: CR-l6-00538-001 JSW

CR]MINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments

 

Asscssmcnt JVTA Assessment* Fine _~ Restitution
'I`OTALS $ 100 Ni'A Waived N/A

l" The determination oi` restitution is deferred unti|. An Amerrded.ludgman! in a C`rr'minal Case (_AO 245€) will be entered alter
such determination

| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lt` the defendant makes a partial payment, each payee shall receive an approximately proportioned payrncnt. unless specified
otherwise in the priority order or percentage payment column below. However. pursuant to 18 U.S.C. § 3664[i). all
nonfederal victims must be paid before the United States is paid.

Name of 'I' " Restitution Ordered

 

TOTALS 5 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2.500. unless the restitution or fine is paid in full before
the fifteenth day after the date ofthejudgment. pursuant to 18 U.S.C. § 3612({). All of the payment options on Slteet 6 may be
subject to penalties for delinquency and default. pursuant to 18 U.S.C. § 3612(§).

|“' The court determined that the defendant does not have the ability to pay interest and it is ordered that:

`l_l

|_ the interest requirement is waived for the.
|"“ the interest requirement is waived for the is modified as follows:

 

‘ Justit‘i.' for Vrcliiirs ol`Tral'f'ti.‘king Acl t'tl'IUlS. Pub L No 1l4-22
"' l-`indings for thermal amount nl` losses are required under Chopters |ll'~JA. l lO. | lt)A. and l lJA nt“Tttle 18 l`ur oll”ensirs committed nn or at'ter September |3, WB-l.

but before Aprrl 21 |9%

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CASE NUMBER: CR-16-00538-001 JSW
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows':

A 57 Lump sum payment of §ng due immediate|y, balance due

l“‘ not later than , or
17 in accordance with l"" C, F' D, or I" E, and/or F_: F below); or

|" Paymcnt to begin immediately (may be combined with |“= C, l‘"? D, or |" F below); or

C r' Payrnent in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
commence (etg., 30 or 60 days} alter the date of this judgment or

D |’“" Payment in equal (e,g., week|y, monthiy, quarterly) installments of _ over a period of (c.g., months or ycars), to
commence (e.g., 30 or 60 days} alter release from imprisonment to a term ofsupervision; or

E |'"; Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment Tltc court will set the payment plan based on an assessth ofthe defendant’s ability to pay at that time; or

F |7 Special instructions regarding the payment of criminal monetary penalties:
When incarceraucd, payment ol' criminal monetary penalties are due during imprisonment at the rate ol' not less
than 325 per quarter and payment shall be through the Burcau of Prlsons lnmate Financial Reapolaihility
l'rogram. Criminal monetary payments shall be made tro the Clerlr ol' U.S. Dlstrict Court, 450 Golden Gate Ave.,
Box 35060, Sarr Franaisco, CA 94102.

Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment All criminal monetary penalties, except those payments made through the chcral Btireon of Prisons’
lnmatc Financial Rcsponsibility Program, are made to the clerk ofthc oourt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposod.

 

l_ .loir¢ and Se'veral
Cise Numbor Total Amount .Ioint and chcral Correspondin= Payee,
Defendaat and Co-Defendrmt Namcs Amount if appropriate

§inc|udigg defendant number)

 

 

 

 

 

 

 

 

'Ihe defendant shall pay the cost ofprosecution.

The defendant shall pay the following court cost(s):

The defenth shall forfeit the defendant’s interest in the following property to the United States:

_l_|“i"l

The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all cr
part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
dcfend.ant’s responsibility for the full amount of the restitution ordered.

 

' payments shall he applied in 1he following order: (1] amnenl. (2) restin.rtion principal, (3) restitution interest. (4) fine principal.
(5) fine nineteen (6) community restitution, l?) penalties, and [8) costs, including cost of prosecution and court cost.\t.

